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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 ANALOG DEVICES, INC. and HITTITE
 MICROWAVE LLC,
                                                    Civil Action No.: 1:18-cv-11028-GAO
              Plaintiffs,

                      v.

 MACOM TECHNOLOGY SOLUTIONS                         ORAL ARGUMENT REQUESTED
 HOLDINGS, INC. and MACOM
 TECHNOLOGY SOLUTIONS INC.,

              Defendants.




              ANALOG’S MOTION FOR PRELIMINARY INJUNCTION

      Pursuant to Fed. R. Civ. P. 26 and 65, and 35 U.S.C. § 283, Plaintiffs Analog Devices, Inc.

and Hittite Microwave LLC (collectively, “Analog”) respectfully move for a preliminary

injunction enjoining Defendants MACOM Technology Solutions Holdings, Inc. and MACOM

Technology Solutions Inc. (collectively, “MACOM”), from further sales and marketing of

MACOM’s MAAP-011247 and MAAP-011247-DIE (collectively, the “MAAP-011247

amplifiers”) which: a) infringe U.S. Patent No. 9,425,752 (the “‘752 Patent”); and b) were

designed using misappropriated Analog trade secrets brought to MACOM by defecting Analog

employees.




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                                     Analog is entitled to injunctive relief barring MACOM’s

continued infringement of the ‘752 Patent, and to prevent further benefit from the misuse of

Analog trade secrets.

                            REQUEST FOR ORAL ARGUMENT

       Analog hereby requests oral argument on the present motion pursuant to Local Rule 7.1(d).

The Court has already set an Initial Scheduling Conference on August 6, 2018. In a second motion

filed simultaneously herewith, Analog seeks expedited discovery related to this motion in advance

of that conference, and suggests that at the August 6 conference, the parties discuss further

scheduling, including an opportunity for the parties to supplement their briefing relating to this

motion, and oral argument on this motion.

                                              Respectfully submitted,
 Dated: June 29, 2018
                                              ANALOG DEVICES, INC. and
                                              HITTITE MICROWAVE LLC

                                              By their attorneys,


                                              /s/ Steven M. Bauer
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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that Analog’s counsel met and conferred

in good faith with counsel for Defendants MACOM Technology Solutions Holdings, Inc. and

MACOM Technology Solutions Inc. to resolve or narrow the issues presented in this motion.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing on June 29, 2018.


                                                   /s/ Steven M. Bauer
                                                   Steven M. Bauer
